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NOT FOR PUBLICATION

                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY
                           CAMDEN VICINAGE

                              :
ALBERT MIKHAYLOVICH BARATOV, :         Civ. Action No. 19-6715(RMB)
                              :
               Petitioner     :
     v.                       :                    ORDER
                              :
WARDEN, FCI FORT DIX, et al., :
                              :
               Respondents    :



BUMB, District Judge

     This matter comes before the Court upon Petitioner’s petition

for writ of habeas corpus under 28 U.S.C. § 2241, challenging the

Bureau of Prison’s failure to consider him for Residential Reentry

Center (“RRC”) placement for the last twelve months of his sentence

under 18 U.S.C. § 3624(c) because he is subject to an immigration

detainer. (Pet., ECF No. 1.)

     Petitioner originally filed this claim in a non-habeas civil

action, Civil No. 17-3775(RMB) (D.N.J.) The Court found that

Petitioner’s RRC placement claims were not ripe. (Civil Action No.

17-3775(RMB), Opinion and Order, ECF Nos. 11, 12.) After Plaintiff

was resentenced to a shorter term of imprisonment, the Court

vacated its order dismissing for lack of jurisdiction and directed

the Clerk of Court to file Petitioner’s complaint in a new action

for adjudication of Count One under 28 U.S.C. § 2241. (Civil Action
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19-6715(RMB), Opinion and Order, ECF Nos., ECF Nos. 1-1 and 1-2.)

The Court instructed the Clerk to add the Warden of FCI Fort Dix

as a respondent to this § 2241 action. (Id.) The Court addressed

Petitioner’s non-habeas claims in Civil Action No. 17-3775(RMB).

     The Court now directs Respondents to answer Petitioner’s

claim, under 28 U.S.C. § 2241, that the BOP policy of delaying

confirmation of ICE detainers until three months prior to the

inmate’s release date denies his statutory right to individual

consideration for RRC placement for up to the final twelve months

of his prison sentence under 18 U.S.C. §§ 3624(c), 3621(b). (Pet.,

ECF No. 1 at ¶¶107-08.)

     IT IS, therefore, on this 27th day of February 2019,

     ORDERED that the Clerk shall serve a copy of the Petition

(ECF No. 1) and this Order upon Respondents by regular mail, with

all costs of service advanced by the United States; and it is

further

     ORDERED that the Clerk shall forward a copy of the Petition

(ECF No. 1) and this Order to the Chief, Civil Division, United

States Attorney’s Office, at the following email address:           USANJ-

HabeasCases@usdoj.gov; and it is further

     ORDERED that within thirty (30) days of the date of the entry

of this Order, Respondents shall file and serve an Answer which

responds to the ground in the Petition described above; and it is

further

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     ORDERED that Respondents shall file and serve with the Answer

certified   copies    of   all    documents     necessary    to    resolve

Petitioner’s claim and affirmative defenses; and it is further

     ORDERED that within forty-five (45) days of receipt of the

Answer, Petitioner may file a Reply to the Answer; and it is

further

     ORDERED that the Clerk shall serve a copy of this Order on

Petitioner by regular U.S. mail.



                                        s/Renée Marie Bumb
                                        RENÉE MARIE BUMB
                                        United States District Judge




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